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                                                                                 E-FILED
                                               Thursday, 05 November, 2020 03:52:41 PM
                                                            Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,             )
                                      )
               Plaintiff,             )
                                      )
     v.                               ) Case No. 19-cr-30002
                                      )
SEAN MURPHY,                          )
                                      )
               Defendant.             )

                               OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court is Defendant Sean Murphy’s pro se motion

for compassionate release requesting a reduction in his term of

imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A). See d/e 43.

For the reasons set forth below, the motion is DENIED.

                            I. BACKGROUND

     On June 19, 2019, Defendant Sean Murphy pled guilty to

delivering 5 grams or more of actual methamphetamine in violation

21 U.S.C. § 841(a)(1) and (b)(1)(B). On October 28, 2019, Defendant

was sentenced to 37 months’ imprisonment and a 4-year term of

supervised release. Defendant is currently serving his sentencing

at FCI Forrest City Low. He has a projected release date of


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September 11, 2021.

     On November 2, 2020, Defendant filed a pro se motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A) seeking

compassionate release due to COVID-19 being present at FCI

Forrest City Low and having contracted COVID-19. See d/e 43.

                            II. ANALYSIS

     As a general matter, the Court is statutorily prohibited from

modifying a term of imprisonment once it has been imposed. See

18 U.S.C. § 3582(c). However, several statutory exceptions exist,

one of which allows the Court to grant a defendant compassionate

release if certain requirements are met. See 18 U.S.C. §

3582(c)(1)(A).

     Section 603(b)(1) of the First Step Act amended the statutory

language at 18 U.S.C. § 3582(c)(1)(A). See First Step Act of 2018,

Pub. L. No. 115-391, 132 Stat 5194. Prior to the First Step Act, the

Court could grant a defendant compassionate release only if the

Director of the BOP filed a motion seeking that relief. With the

enactment of the First Step Act, 18 U.S.C. § 3582(c)(1)(A) now

allows an inmate to file with the Court a motion for compassionate

release, but only after exhausting administrative review of a BOP


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denial of the inmate’s request for BOP to file a motion or waiting 30

days from when the inmate made his or her request, whichever is

earlier. The statute now provides as follows:

     The court, upon motion of the Director of the Bureau of
     Prisons, or upon motion of the defendant after the
     defendant has fully exhausted all administrative rights to
     appeal a failure of the Bureau of Prisons to bring a
     motion on the defendant’s behalf or the lapse of 30 days
     from the receipt of such a request by the warden of the
     defendant’s facility, whichever is earlier, may reduce the
     term of imprisonment (and may impose a term of
     probation or supervised release with or without
     conditions that does not exceed the unserved portion of
     the original term of imprisonment), after considering the
     factors set forth in section 3553(a) to the extent that they
     are applicable, if it finds that—

     (i) extraordinary and compelling reasons warrant such a
     reduction . . . and that such a reduction is consistent
     with applicable policy statements issued by the
     Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).

     In this case, Defendant argues that he submitted a

compassionate release request to the warden of FCI Forrest City

Low on August 6, 2020. See Motion, d/e 43, p. 1. However, he did

not receive a response from the warden. Id. Because more than 30

days have passed since Defendant submitted a request to the

warden, the Court finds that Defendant has met the 30-day



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requirement found in 18 U.S.C. § 3582(c)(1)(A).

     The Court must consider whether “extraordinary and

compelling reasons warrant such a reduction” and is “consistent

with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(1)(A).

     Having considered the relevant factors set forth in 18 U.S.C. §

3553(a), the Court concludes that Defendant has not established

that extraordinary and compelling reasons warrant a reduction in

his term of imprisonment. The spread of COVID-19 has presented

extraordinary and unprecedented challenges for the country and

poses a serious issue for prisons. Due to the infectious nature of

the virus, the Centers for Disease Control and Prevention (CDC) and

state governments have advised individuals to practice good hygiene

and social distancing and isolation. Social distancing can be

difficult for individuals living or working in a prison.

     Defendant argues that the presence of the disease at his

facility warrants immediate release. While the Court recognizes

that COVID-19 has infected FCI Forrest City Low, the COVID-19

pandemic alone does not constitute “extraordinary and compelling

reasons” warranting a reduction in his term of imprisonment. See


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COVID-19 Cases, Federal Bureau of Prisons,

https://www.bop.gov/coronavirus/ (last accessed November 5,

2020). Defendant also argues that he has contracted COVID-19,

which places him at higher risk of contracting more serious

complications if he contracts COVID-19 again. Defendant admits in

his motion that he is “young and relatively healthy.” See 43, p. 2.

     Defendant has also failed to submit any proposed release plan.

Without a release plan, the U.S. Probation Office cannot make a

recommendation and Defendant cannot safely be released into the

community.

     The Court, taking all the relevant facts into account, finds that

Defendant has not established the existence of extraordinary and

compelling reasons that warrant a reduction in his term of

imprisonment.

                          III. CONCLUSION

     For the reasons set forth above, Defendant Sean Murphy’s pro

se motion for compassionate release (d/e 43) is DENIED. The Clerk

is DIRECTED to send a copy of this Opinion to FCI Forrest City Low

and Defendant.




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ENTER: November 5, 2020.

                              s/ Sue E. Myerscough
                              SUE E. MYERSCOUGH
                              UNITED STATES DISTRICT JUDGE




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